                                         Case 5:24-cv-00369-JKP-ESC                                  Document 7                                  Filed 05/09/24        Page 1 of 1
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            5:24-CV-00369-JKP

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for DiTommaso Inc.
 was recieved by me on 4/24/2024:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on LEGALINC CORPORATE SERVICES INC., who is designated by law to accept service of
          X
                                    process on behalf of DiTommaso Inc. at 1967 Wehrle Drive Suite 3 #806, Buffalo, NY 14222 on 05/02/2024 at 2:09
                                    PM; or

                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 75.00 for services, for a total of $ 75.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   05/09/2024
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                             Server's signature



                                                                                                                                                            Devon Horton
                                                                                                                                                            Printed name and title



                                                                                                            9233 Main St
                                                                                                            Trlr #25
                                                                                                            Clarence, NY 14031

                                                                                                                                                              Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents to LEGALINC CORPORATE SERVICES INC., REGISTERED AGENT with identity confirmed
           by subject stating their name. The individual accepted service with direct delivery. The individual appeared to be a
           gray-haired white female contact 55-65 years of age, 5'6"-5'8" tall and weighing 180-200 lbs with glasses. Person
           authorized to accept documents for legal inc. identified themself as Cathy Will, holding the title of Administrative
           Assistant.




                                                                                                                                                                          Tracking #: 0131553898
